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3                              UNITED STATES DISTRICT COURT

4                                     DISTRICT OF NEVADA

5                                                 ***

6     SHANTEZ THROWER,                                  Case No. 3:21-cv-00171-MMD-CLB

7                                    Plaintiff,                         ORDER
             v.
8
      MICHAEL MIMINEY, M.D., et al.,
9
                                 Defendants.
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12   I.     DISCUSSION

13          According to the Nevada Department of Corrections (“NDOC”) inmate database,

14   Plaintiff Shwantez Thrower is no longer at the address listed with the Court. The Court

15   notes that under Nevada Local Rule of Practice IA 3-1, a “pro se party must immediately

16   file with the court written notification of any change of mailing address, email address,

17   telephone number, or facsimile number. The notification must include proof of service on

18   each opposing party or the party’s attorney. Failure to comply with this rule may result in

19   the dismissal of the action, entry of default judgment, or other sanctions as deemed

20   appropriate by the court.” Nev. Loc. R. IA 3-1. This Court grants Thrower 30 days from

21   the date of entry of this order to file his updated address with this Court. If Thrower does

22   not update the Court with his current address within 30 days from the date of entry of this

23   order, this case will be subject to dismissal without prejudice.

24   II.    CONCLUSION

25          For the foregoing reasons, IT IS ORDERED that Thrower shall file his updated

26   address with the Court within 30 days from the date of this order.

27          IT IS FURTHER ORDERED that, if Thrower fails to timely comply with this order,

28   this case will be subject to dismissal without prejudice.
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1          IT IS FURTHER ORDERED that the Clerk of the Court will send Thrower a

2    courtesy copy of this order, the order screening his complaint (ECF No. 7), and his

3    complaint (ECF No. 8) to Lovelock Correctional Center: lcclawlibrary@doc.nv.gov.

4                     5th day of November, 2021.
           DATED THIS ___

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                                            UNITED STATES MAGISTRATE JUDGE
7                                           CARLA BALDWIN

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